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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,                                            Prg_pg11effrotective Order

                v.

 RIAZ SHAHID,

                            Defendant.



       Upon the application of the United States of America, with the consent of the undersigned

counsel, and the defendant having requested discovery under Fed. R. Crim. P. 16, the Court hereby

finds and orders as follows :

        1. Disclosure Material. The Government will make disclosure to the defendant of

documents, objects and information, including electronically stored information ("ESI"), pursuant

to Federal Rule of Criminal Procedure 16, 18 U.S.C. § 3500, and the Government's general

obligation to produce exculpatory and impeachment material in criminal cases, all of which will

be referred to herein as "disclosure material." The Government's disclosure material may include

material that (i) affects the privacy, confidentiality and business interests of .individuals and

entities; (ii) would impede, if prematurely disclosed, the Government's ongoing investigation of

uncharged individuals; (iii) would risk prejudicial pretrial publicity if publicly disseminated; and

(iv) is not authorized to be disclosed to the public or disclosed beyond that which is necessary for

the defense of this criminal case.

       2. Sensitive Disclosure Material. Certain of the Government's disclosure material,

referred to herein as "sensitive disclosure material," contains information that identifies, or could

lead to the identification of, witnesses who may be subject to intimidation or obstruction, and

whose lives, persons, and property, as well as the lives, persons and property of loved ones, will
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be subject to risk of harm absent the protective considerations set forth herein. The Government's

designation of material as sensitive disclosure material will be controlling absent contrary order of

the Court. Materials designated as "sensitive disclosure material" will no longer be so designated,

and will instead be designated as disclosure material, 30 days before trial or at the Court' s Jencks

Act deadline - whichever occurs earlier.

NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

       3. Disclosure material shall not be disclosed by any defendant or defense counsel,

including any successor counsel ("the defense") other than as set forth herein, and shall be used

by the defense solely for purposes of defending this action. The defense shall not post any

disclosure material on any Internet site or network site to which persons other than the parties

hereto have access, and shall not disclose any disclosure material to the media or any third party

except as set forth below.

       4. Disclosure material that is not sensitive disclosure material may be disclosed by

counsel to:

              (a) The defendant for purposes of defending this action;

              (b) Personnel for whose conduct counsel is responsible, i.e., personnel employed by or

retained by counsel, as needed for purposes of defending this action; or

              (c) Prospective witnesses for purposes of defending this action.

       5. Sensitive disclosure material shall be kept in the sole possession of counsel, shall not

be reviewed or maintained by the defendant outside the presence of counsel or personnel employed




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by or retained by counsel, shall not be copied or otherwise recorded by the defendant, and may be

disclosed by counsel only to:

           (a) Personnel for whose conduct counsel is responsible, i.e., personnel employed by or

retained by counsel, as needed for purposes of defending this action.

       6. The Government may authorize, in writing, disclosure of disclosure material beyond

that otherwise permitted by this Order without further Order of this Court.

       7. This Order does not prevent the disclosure of any disclosure material in any hearing or

trial held in this action, or to any judge or magistrate judge, for purposes of this action. However,

sensitive disclosure material pertinent to any motion before the Court should initially be filed under

seal, absent consent of the Government or Order of the Court. All filings should comply with the

privacy protection provisions of Fed. R. Crim. P. 49 .1.

       8. The Government has advised that information that may be subject to disclosure in this

case may be contained within ESI that the Government has seized, pursuant to warrants issued

during the course of the investigation, from various computers, cell phones, and other devices and

storage media. The defendant, defense counsel, personnel for whose conduct counsel is

responsible, i.e., personnel employed by or retained by counsel, and potential defense witnesses

may review the seized ESI disclosure material to identify items pertinent to the defense, as

applicable. They shall not further disseminate or disclose any portion of the seized ESI disclosure

material except as otherwise set forth under this Order.

       9. Except for disclosure material that has been made part of the record of this case, the

defense shall return to the Government or securely destroy or delete all disclosure material,


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including the seized ESI disclosure material, within 30 days of the expiration of the period for

direct appeal from any verdict in the above-captioned case; the period of any collateral attack

commenced within a year of the exhaustion of the defendant's appellate rights involving any of

the charges in the above-captioned case; the period of direct appeal from any order dismissing any

of the charges in the above-captioned case; or the granting of any motion made on behalf of the

Government dismissing any charges in the above-captioned case, whichever date is later. If

disclosure material is provided to any prospective witnesses, counsel shall make reasonable efforts

to seek the return or destruction of such materials.

        10. The defense shall provide a copy of this Order to prospective witnesses, and persons

retained by counsel to whom the defense has disclosed disclosure material or the Government's

ESI production. All such persons shall be subject to the terms of this Order. Defense counsel shall

maintain a record of what information has been disclosed to which such persons.

        11. This Order places no restriction on a defendant's use or disclosure of ESI that originally

belonged to the defendant.




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                                   Retention of Jurisdiction
        12. The provisions of this order shall not terminate at the conclusion of this criminal

prosecution and the Court will retain jurisdiction to enforce this Order following termination of

the case.


AGREED AND CONSENTED TO:

    DAMIAN WILLIAMS
    United States Attorney


by:S~L~nd                                                  Date: November 10, 2021
    Samuel Raymond
    Assistant United S~ates Attorney




Steve Zissou, Esq.
Attorneys for RIAZ SHAHID



SO ORDERED:

Dated: New York, New York
       November Jf, 2021


                                            THE HONORABLE LEWIS A. KAPLAN
                                            UNITED STA TES DISTRICT JUDGE




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